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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


HFT SOLUTIONS, LLC,

                  Plaintiff,                    Case No. 1:24-cv-13213

            v.

CITADEL SECURITIES LLC,

                  Defendant.




         PLAINTIFF HFT SOLUTIONS’ RESPONSE IN OPPOSITION TO
          DEFENDANT CITADEL SECURITIES’ MOTION TO DISMISS
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I.     INTRODUCTION

       Defendant’s motion is a transparent attempt to stall this case, not a serious challenge to

patent-eligibility. Defendant fundamentally relies on a gross oversimplification—ignoring

numerous limitations of the claims and disclosures in the specification—to improperly recast the

asserted patents as generic data-clock synchronization or “mere data manipulation.” Under any

faithful reading, however, the claims and specification describe innovative FPGA systems and

methods that improve over conventional systems in specific, concrete ways.

       The patents describe, for example, an FPGA system comprising: a deserializer that

generates a receiver side clock signal and transmits it to an external phase lock loop (PLL), where

the deserializer is in an FPGA, the external PLL is not within the FPGA, and a transmitter side

clock signal is derived from a clock signal generated by the external PLL. These and other aspects

of the claimed inventions help reduce latency by, for example, eliminating conventional clock-

domain-crossing (CDC) circuitry and operations that were used to synchronize clock signals in

prior art systems. The Federal Circuit has consistently found technical advances like these patent-

eligible. Thus, accepting the allegations in the complaint and patents as true and drawing all

inferences in Plaintiff’s favor, the patents are nowhere near the threshold for patent-ineligibility.

       At minimum, the Court should defer ruling on patent eligibility until after the claims are

construed and a sufficient factual record developed. The patents carry a presumption of validity

that can only be overcome with clear and convincing evidence. Defendant’s distortion of the

patents at most raises factual disputes that foreclose dismissal.1

       Defendant’s motion should be denied.



1
  Notably, in a related case on the same patents, that defendant did not move to dismiss and chose
instead to answer the complaint. See HFT Solutions, LLC v. Jump Trading, LLC, No. 1:24-cv-
13214 (N.D. Ill.), ECF No. 28.


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II.     FACTUAL BACKGROUND

        A.      The Asserted Patents Provide Specific Technical Improvements Over
                Conventional FPGA Systems

        The asserted patents are related and share the same specification. Dkt. 1 ¶¶ 2-4, Exs. 1-3.

The patents explain that “FPGAs are used in the financial industry in high frequency trading where

the rapid processing of the FPGA is desired.” ’381 patent (Dkt. 1-3) 1:39-43.2 As shown below,

the patents go on to identify specific technical problems with conventional FPGAs and explain

why prior art attempts to solve them were inadequate.

                1.      Exemplary Technical Problems Described in the Specification

        “One technological problem with FPGAs is that there is a need to synchronize receiving

side and transmitting side clock signals within the FPGA.” Id. 1:43-47. “The prior art sought to

address this problem by including a [CDC] circuit in the FPGA, however, these circuits inherently

add a delay to the processing” and in “high frequency trading … even small delays may present a

large problem.” Id. 1:47-52. “Accordingly, a technical problem is presented in FPGAs in that

phase synchronization between the receiver side clock and the transmitter side clock will introduce

unwanted latency that results in delay of processing.” Id. 1:53-56.

        The patents are directed to solving these and other “technological challenges” in

conventional FPGAs. ’381 patent 1:66-7:53. Referring to Fig. 1 below, for example, the patents

explain that in conventional systems, “a REFERENCE CLOCK signal is provided, by Oscillator

or Clock Generator 122, to both the deserializer 104 and the serializer 110.” Id. 10:16-18.

This leads to timing issues because the receiver and transmitter side clocks (RXCLOCK and TX

CLOCK) differ in both frequency and phase based on the deserialization and serialization



2
 For ease of reference, Plaintiff cites only the ’381 patent to refer to specific passages in the shared
specification. Corresponding disclosures can be found in the ’286 and ’305 patents.


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processes occurring in the deserializer 104 and serializer 110. Id. 10:20-28. “As a result, the

RXCLOCK signal and TXCLOCK signal will be out of phase.” Id.

                                              .                                              102
                                                                                                                  ~~
                                                                                                                                                                                   100

                                                                                                                                                                                 106 :
                                                                                                                                                                                             .
                                                      FPGA TRANSCEIVER                              !:                            FPGA CORE
                                                            BANKS                                   ::
                                                                                                    ::              .               110a

                           10/25GBPSDAfA                                                                                                RECEIVE-SIDE
                                                                                                                                        COMPUTATION
                122                                                                                                                                     INTER..\1EDIATE:
                   OSCILLATOR                                                                                                       112                !DATA           :
                    OR CLOCK                                                                                                            RXTOTX
                   GENERATOR     50-800 MHZ
                ._ ____       _, REFERENCE                                                                                           CLOCK DOMAIN
                                 CLOCK                                                                                                  CROSSING
          120
                                                                                                                                             INTERMEDIATE:
            VO                                                                                                                     110b      DATA          ::
                                                                                                                                                                                        ,.,,
          MODULE                                                                                                                                                                        ,,,,
                                                                                                                                       TRAN SM IT-SIDE                                  ,,
                           10/25 GBPS DATA                                                                                             COMPUTATION                                      ,,
                                                                                                                                                                                        ,,
                                                                                                    ,,                                                                                  ,1
                                                                                                    , , 100-650 MHZ                                                                     ,:
         EXTERNAL
                                              I..L -_-_ -_-_ :_:. --_-_-_--_-_-_--_ .._--_-_:_--_-_-_' ~::   ::   : : : :::   : : : : : :_ :_: :_::_   :_ :_ :_ :_ :_ ::_ :_ :_: :_ :_ :_; :
         CONNECTION




                                                                        PRIORART
                                                                            l'IG. I                                                                                                              (’381 Fig. 1)

       Conventional solutions used to address this issue, such as “the inclusion of the RX to TX

clock domain crossing circuit 112” (Id. 10:28-29) “creates a technical problem, introducing an

inherent delay in the FPGA 100.” Id. 10:33-35; see also 11:3-8 (CDC 112 “adds latency related to

the phase difference … plus the latency of the synchronizers … and does not perform any

computation, such that it slows the effective processing speed of FPGA 100.”).

                   2.          Exemplary Technical Solutions Taught by the Specification

       The patents disclose specific technological improvements to address these problems.

Referring to Fig. 2 below, in some embodiments, a phase controller 2202 that is external3 to FPGA

2100, “provides control signals to allow for adjustment of the phase of at least the transmitter side

clock signal TXCLOCK.” Id. 13:51-60. The controller “utilizes a phase-locked loop” (PLL) and

monitors the phase offset between RXCLOCK and TXCLOCK using, e.g., phase detector 2206




3
  This technical solution uses an external circuit since, at the time of the invention – and even today
– conventional FPGA’s use clock domain crossing circuits instead of a PLL phase controller like
the patents.


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and zero-delay buffers 2208a and 2208b. Id. 13:51-14:36, 15:61-62. Based on the phase offset,

controller 2202 sends control signals to adjustable oscillator 2200 which generates a wire rate

clock signal W.R. CLOCK. Serializer 2110 within FPGA 2100 derives TXCLOCK from W.R.

CLOCK and transmits TXCLOCK to computation logic 2210. Id. 12:63-13:9, 13:51-14:36.
                                                                                            LENGTH-MATCHED REFERENCE TRACE
                                                  2100                                                 Tl
                                                                 FPGA                   _llOG __________ [_ ____ ----,:
                               50-800 MHZ RX                           :                     FPGA CORE           I            ::
                2000           REFERENCE           2102                '                           2208a                      'i

                    FIXED-     CLOCK              : FPGA TRANSCEIVER : :                                        ZERO-DELA y   ''
                 ~~~~~~~~; -~···-·--·--1          : 2104 BMTJ<S                     :;RXD.\TA                   BUFFERPLL

                10/25 GBPS DAfA         --~                                         : : 16-64 .BITS                                    T3
                                                            DESERlALIZER          -~--

                ----~50-800           MHZ TX
                                  REFERENCE
                                                       2108                         ;1~~-~~i~~
                                                                                    ,,
                                                                                                                                        2206

                                  CLOCK                     fRANSCEIVER             ::                       COMPUTATION
                                                                                    ,,
                                                                                    ,,             2210
                                                                PLL                 ,,                          LOGIC
                                                                                    ,,
         2120                                          ---~-2~1~10'-.               : : TX DATA
                                                                                        1
                                                                                    :       16-64 BITS
                              I 0/25 GBPS DATA                                                                                         T4
                                                             SERIALIZER
                                                                                    ::TX CLOCK
                          PHASE OR                l------      ------------':          J00-650
                          FREQUENCY                                                     : MHZ                 ZERO-DELAY
                          CONTROL                                                       :
         EXTEKNAL                                                                                   2208 b    BUFFER PLL      : ; MEASURED
         CONNECTION                                                                     I                        •            : 1 TXCLOCK
             2122                                -- - - - - - -- - - - - -- - - - - -=- - - -- - - - - - -- -   -t------ fi _l; 100-650 r-.1HZ
                                                   LO\V-BANDWIDTH                             LENGTH-MATCHED REFERENCE TRACE
                                                 (I00HZ TO 40KHZ BW)
                                                                                                             PHASE MEASUREMENT
                                                 PLL/DLL CONTROLLER


                                                                                                                                                 (’381 Fig. 2)
                                              2202
                                                                         FIG. 2




       This exemplary configuration solves the added latency problem caused by conventional

CDC circuits. Id. 14:37-47. (“Using the configuration of FIG. 2, [RXCLOCK and TXCLOCK] are

sufficiently aligned in phase such that there is no need for the [CDC] circuit discussed above,

eliminating a technical problem.”); see also id. 14:47-52 (“Some delays may be introduced in the

path … however, such delays are insignificant compared to the larger delays that are necessarily

present when an asynchronous clock domain crossing circuit is used.”).

                   3.             Exemplary Technical Solutions Recited in the Claims

       The claims of the patents capture the specific technological improvements discussed in the

specification, including those above. As the Complaint alleges, the claims “recite technical

solutions to technical problems related to, for example, processing delays caused by clock domain

crossing circuits, and phase synchronization between receiver and transmitter side clocks.”

Dkt. 1 ¶ 19. For example, at least the claim 1 elements highlighted for each patent in Exhibit 1


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describe key aspects of these technical solutions which help eliminate CDC circuits and operations

(and the latency and processing delay that they cause) used in conventional FPGA systems.

         B.     Defendant Benefits from the Technical Solutions in the Claimed Inventions

         As alleged in Plaintiff’s Complaint, Defendant “is a trading firm engaged in various high

frequency trading strategies” that “fundamentally rely on being able to execute trades faster,

sometimes microseconds or nanoseconds faster, than competitors.” Dkt. 1 ¶ 6. To secure that speed

advantage, Defendant configures and uses the accused FPGA systems in a manner that infringes

the asserted patents. Id. ¶¶ 7-8, Exs. 4-6. Defendant’s infringement yields increased profits on its

latency-sensitive trading activities. Id. ¶ 25 (“Defendant and its customers derive benefits from

Defendant’s infringement including, for example, higher success rates and increased profits in

latency sensitive trades … and other trading activities affected by latency.”).

III.     LEGAL STANDARD

         Deciding a § 101 challenge requires determining: “(1) whether the claim, as a whole, is

‘directed to’ patent-ineligible matter—here, an abstract idea—and (2) if so, whether the elements

of the claim, considered individually or as an ordered combination ‘transform the nature of the

claim’ into a patent-eligible application.” Ancora Techs., Inc. v. HTC Am., Inc., 908 F.3d 1343,

1347 (Fed. Cir. 2018) (citing Alice Corp. Pty. v. CLS Bank Int’l, 573 U.S. 208, 216-17 (2014)).

         The first step (1) examines the claims “in light of the specification” to determine if “their

character as a whole is directed to excluded subject matter.” Enfish, LLC v. Microsoft Corp., 822

F.3d 1327, 1334 (Fed. Cir. 2016). Claims should not be “oversimplified” and their benefits not

“downplayed.” Id. at 1337-38. For “all inventions at some level embody, use, reflect, rest upon, or

apply laws of nature, natural phenomena, or abstract ideas.” Core Wireless Licensing S.A.R.L. v.

LG Elecs., Inc., 880 F.3d 1356, 1361 (Fed. Cir. 2018) (quotations omitted).




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       If a claim is directed to an abstract idea, courts proceed to step two (2) to “determine

whether it contains an ‘inventive concept’ sufficient to ‘transform’ the claimed abstract idea into

patent-eligible application.” Alice, 573 U.S. at 221. Although individual elements may be

conventional, their specific arrangement can form an inventive concept. Bascom Glob. Internet

Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1349 (Fed. Cir. 2016). A claim is ineligible

under step two if it involves nothing more than “well-understood, routine, [and] conventional

activities previously known to the industry.” Alice, 573 U.S. at 225. This determination is

“a question of fact” and thus requires clear and convincing evidence. Berkheimer v. HP Inc., 881

F.3d 1360, 1368 (Fed. Cir. 2018) (“Any fact, such as this one, that is pertinent to the invalidity

conclusion must be proven by clear and convincing evidence.”).

IV.    ARGUMENT

       Defendant’s motion collapses at Alice step one. The asserted claims are not directed to an

abstract idea, but rather to specific FPGA system architectures that solve technical problems in

conventional systems with an inventive, unconventional technological solution. Even if the Court

proceeds to step two, the motion still fails. Defendant offers no clear and convincing evidence that

the claimed arrangements, including the absence of CDC circuits and operations in both the claims

and the infringing FPGA systems, were “well-understood, routine, and conventional.” Moreover,

step-two eligibility turns on questions of fact that cannot be resolved on the pleadings.

       A.      Defendant Fails to Show the Asserted Patents Are Directed to an Abstract Idea

               1.      Defendant’s Oversimplification Invites Reversible Error

       Defendant’s abstract-idea argument rests on the very approach the Federal Circuit has

repeatedly condemned—reducing the claims to a generic, high-level summary untethered from

what they actually recite. See Contour IP Holding LLC v. GoPro, Inc., 113 F.4th 1373, 1379 (Fed.

Cir. 2024) (“[W]e must avoid describing the claims at a high level of abstraction, divorced from


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the claim language itself.”); see also TecSec, Inc. v. Adobe Inc., 978 F.3d 1278, 1294 (Fed. Cir.

2020) (“[A]ccurate characterization of what the claims require and of what the patent asserts to be

the claimed advance” is “crucial” to the step one analysis).

       By reducing the claims to generic notions such as “synchronizing data processing with a

clock” or “mere data manipulation” (Mot. 6), Defendant impermissibly “disregard[s] elements of

the claims at issue that the specification makes clear are important parts of the claimed advance in

the combination of elements.” TecSec, 978 F.3d at 1294 (claims directed to improvements in

“secure and efficient data transmission” not abstract). For example, Defendant simply ignores

specially configured components such as: a deserializer that receives a clock signal, generates a

receiver side clock signal, transmits the receiver side clock signal to a PLL external to the FPGA,

and transmits parallel data streams to computation circuitry in the FPGA; and the external PLL

itself, which generates a second clock signal from which a transmitter side clock signal is derived

within the FPGA.4 Defendant’s oversimplification and stripping of claim language is evident from

its “summary” of claim 1 of each patent alone, which omits essentially all critical claim language.

Compare Mot. at 6 with Ex. 1. See Packet Intel. LLC v. NetScout Sys., Inc., 965 F.3d 1299, 1308-

10 (Fed. Cir. 2020) (rejecting defendants’ oversimplification of the claims as being directed to

“collection, comparison, and classification of information” and upholding eligibility of claims

reciting specific steps for improving classification of network traffic).

       Accurately characterized, the claimed inventions here provide tangible improvements to

FPGA system designs—not generic “data manipulation” or basic clock-syncing—and are plainly



4
  Throughout this brief, Plaintiff summarizes claim elements and patent disclosures solely for
purposes of demonstrating that Defendant’s § 101 challenge is baseless. These summaries pertain
to exemplary features and should not be taken out of context or used as purported summaries of
all claims of all patents or of any individual claimed invention as a whole, including for example,
in any inter partes review (IPR) petitions or claim construction briefs that Defendant may file.


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not abstract. “Indeed, some improvements in computer-related technology when appropriately

claimed are undoubtedly not abstract, such as a chip architecture.” Enfish, 822 F.3d at 1335.

As discussed above, the claimed inventions describe specific FPGA system architectures that, for

example, eliminate the need for conventional CDC circuits and the latency and processing delays

caused by such extra circuitry. See Factual Background; see also Ex. 1. As the Complaint alleges,

the claims provide “technical solutions to technical problems related to, for example, processing

delays caused by clock domain crossing circuits, and phase synchronization between receiver and

transmitter side clocks.” Dkt. 1 ¶ 19.

               2.      Federal Circuit Precedent Confirms Eligibility

       The Federal Circuit consistently upholds patent-eligibility at Alice step one where, as here,

the claims are necessarily rooted in computer technology in order to solve specific technical

problems in computer functionality. Ancora upheld eligibility of claims directed to improving

computer security as non-abstract because the claimed technique “departs from earlier approaches

to solve a specific computer problem.” Ancora Techs. Inc. v. HTC America, Inc., 908 F.3d 1343,

1348 (Fed. Cir. 2018). Uniloc ruled that claims “directed to a patent-eligible improvement to

computer functionality, namely the reduction of latency experienced … in communication

systems” were not abstract. Uniloc USA, Inc. v. LG Elecs. USA, Inc., 957 F.3d 1303, 1306, 1307

(Fed. Cir. 2020). DDR found claims non-abstract because “the claimed solution is necessarily

rooted in computer technology in order to overcome a problem specifically arising in the realm of

computer networks.” DDR Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245, 1257 (Fed. Cir.

2014). SRI likewise held that claims “necessarily rooted in computer technology in order to solve

a specific problem in the realm of computer networks” were not abstract. SRI Int’l, Inc. v. Cisco

Sys., Inc., 930 F.3d 1295, 1303 (Fed. Cir. 2019).




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       Applying this binding precedent, courts in this district have likewise found computer-

related claims directed to specific technological improvements not abstract. For example, in

Buffalo Pats., LLC v. Motorola Mobility LLC, the court denied a motion to dismiss where the

claims were “directed to a technical improvement in conventional message recognition

technology, not an abstract idea.” No. 22-CV-04540, 2023 WL 5858921 at *3 (N.D. Ill. Sept. 11,

2023). The court found that, as here, the specification identified shortcomings in prior art systems

and described how the invention solved them—and rejected the defendant’s attempt at

overgeneralizating the claims. Id.

       The same applies here. Reading the claims in light of the specification which describes

how the claimed inventions provide technological improvements over the prior art—e.g., “such

that there is no need for the clock domain crossing circuit [thereby] eliminating a technical

problem” (’381 patent 14:37-47)—and accepting these disclosures and the allegations in the

Complaint as true—shows the claimed inventions are directed to technical improvements over

conventional FPGA systems, not an abstract idea.

               3.      Defendant’s Cited Cases Are Readily Distinguishable

       None of Defendant’s cases involves claims directed to specific improvements in computer

technology. For example, in Beteiro, LLC v. DraftKings Inc., the claims recited methods for

“facilitating gaming activity and/or gambling activity.” 104 F.4th 1350, 1353 (Fed. Cir. 2024).

The specification admitted the claims were not aimed at solving computer-related problems but

rather at making gambling more accessible. Id. The Federal Circuit thus found the claims

analogous to a longstanding business activity: a casino accepting bets. Id. at 1356-57.

       In Chamberlain Grp., Inc. v. Techtronic Indus. Co., the claims were directed to the

conventional activity of communicating whether a garage door is open or closed—except

wirelessly. 935 F.3d 1341, 1345-46 (Fed. Cir. 2019). The court found them abstract because they


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offered nothing beyond the generic concept of wirelessly communicating information. Id. at 1346.

In other words, as in Beteiro, the Chamberlain claims did not provide improvements in computer

functionality, such as an improved way of wirelessly communicating the status information, but

rather the abstract idea of wirelessly communicating status information itself. Similarly, in

ChargePoint, Inc. v. SemaConnect, Inc., the claims were directed to “wireless communication” in

EV charging stations. 920 F.3d 759, 766–69 (Fed. Cir. 2019). The claims were deemed abstract

because nothing in the patents indicated that “the charging station itself is improved from a

technical perspective, or that it would operate differently than it otherwise could.” Id. at 768.

       By contrast, the patents here do not merely computerize a longstanding business activity

or other known process. Rather, they aim to solve specific “technological challenges” such as

reducing latency caused by CDC operations in conventional FPGA systems. And as shown above,

the claims detail specific steps that require specific hardware elements configured to perform

specialized operations in an unconventional, inventive and particular way. See Adasa Inc. v. Avery

Dennison Corp., 55 F.4th 900, 909 (Fed. Cir. 2022) (claims directed to “specific, hardware-based

… structure designed to enable technological improvements” not abstract). Moreover, the claims

do not remotely preempt all ways of performing clock-synchronized data processing or data

manipulation; nor all uses of FPGAs or PLLs. See Bascom, 827 F.3d at 1350 (while filtering

internet content was known, the patent described “how its particular arrangement of elements is a

technical improvement” and thus did not “preempt all ways of filtering content on the Internet”).

       Defendant’s heavy reliance on Redwood Techs., LLC v. Netgear, Inc., 738 F. Supp. 3d 511

(D. Del. 2024) is also misplaced. The ineligible claims there related to wireless systems but unlike

the claims here, did not recite “specific improvements” to such systems—and unlike the patents

here, the Redwood patents did not explain how the claims advanced over the prior art. Id. at 519-20,




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23-26; see also Factual Background. Moreover, unlike the specific circuitry called out in the claims

here—e.g., “transmitting, from the deserializer to a phase lock loop … that is not within the

[FPGA], the receiver side clock signal” (’381 claim 1, emphasis added)—the Redwood claims

merely recited “result-based functional language.” Id. at 519, 526.

               4.      Defendant’s Other Arguments Fail

       Defendant’s assertion that the claims merely recite the functional results of “receiving,”

“generating,” “converting,” “transmitting,” and “performing . . . operations” (Mot. at 8-9)

improperly strips away the patents’ claimed advances and should thus be rejected. Compare Mot.

at 8-9 with Ex. 1; see also Factual Background. Such logic cannot be right, since contrary to

Federal Circuit precedent, it leads to the improper conclusion that virtually all computer-related

claims would be rendered ineligible when watered down to this degree. See Uniloc, 957 F.3d at

1309 (rejecting characterization of claims as mere “data manipulation”); SRI, 930 F.3d at 1304

(rejecting characterization of claims as “generic steps required to collect and analyze data”);

Packet Intelligence, 965 F.3d at 1308 (rejecting oversimplification of claims as mere “collection,

comparison, and classification of information”).

       Defendant’s assertion that the claims do not specify “what type of ‘operations’ are

involved, how they are performed, or what the ‘computational circuitry’ entails” (Mot. at 9)

likewise misses the mark. Controlling precedent makes clear that under Alice step one, the Court

must look at the claims as a whole—not individual steps/elements in isolation to determine

whether each is abstract. See Contour IP, 113 F.4th at 1379; Buffalo, 2023 WL 5858921, at *4.

Indeed, step one evaluates “what the patent asserts to be the focus of the claimed advance” as

opposed to any isolated element(s) a defendant chooses to spotlight. TecSec, 978 F.3d at 1292.

       Defendant’s assertion that the claims are abstract because they utilize known components

that do not have “any new capabilities” (Mot. at 9) also fails. Indeed, “employ[ing] known or


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conventional components … does not necessarily mean that the claim is directed to an abstract

idea.” Contour IP, 113 F.4th at 1380; see also Uniloc, 957 F.3d at 1308-09 (rejecting argument

that use of “generic Bluetooth components” rendered claims abstract); Adasa, 55 F.4th at 908

(“Setting aside the conventional RFID hardware components, claim 1 as a whole focuses on the

data structure of the serial number space.”). As in Enfish, this is not a situation where

“general-purpose computer components are added post-hoc to a fundamental economic practice

or mathematical equation.” 822 F.3d at 1339. Rather, “the claims are directed to a specific

implementation of a solution to a problem” in FPGA systems—the antithesis of abstract. Id.

       Finally, Defendant’s assertion that the claimed inventions “do not solve any technical

problem relating to the use of [CDC] circuits” because they “avoid the use of [CDC] circuits

altogether” is nonsensical. Mot. at 10. The inventor sought to address, e.g., latency issues caused

by CDC circuits, and thus developed specific FPGA system designs that eliminate the need for

such circuits—this alone establishes the claims are not abstract. See Factual Background.

                                               ***
       Because the claims are not abstract, Defendant’s motion should be denied. CardioNet, LLC

v. InfoBionic, Inc., 955 F.3d 1358, 1371 (Fed. Cir. 2020) (finding “district court erred by

disregarding the written description’s recitation of the advantages of the claimed invention.”).

       B.      Defendant Fails to Show the Claims Lack an Inventive Concept Much Less by
               Clear and Convincing Evidence

       Even assuming the asserted patents were directed to an abstract idea (they are not),

Defendant’s motion still fails because it cannot show that the claims lack an inventive concept.

               1.      Defendant Cannot Show the Patents Admit that the Claimed
                       Inventions Were “Well-Understood, Routine, and Conventional”

       “A Rule 12 motion to dismiss can only be resolved if the specification itself ‘admits that

the claim elements are well-understood, routine, and conventional.’” Buffalo, 2023 WL 5858921,


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at *4 (citing Riggs Tech. Holdings, LLC v. Cengage Learning, Inc., No. 2022-1468, 2023 WL

193162, at *4 (Fed. Cir. Jan. 17, 2023)). The specification here does nothing of the sort. To the

contrary, it discloses that the claimed inventions depart from well-understood, routine, and

conventional FPGA systems—for example, by using an external PLL to synchronize receiver- and

transmitter-side clock signals, and avoiding clock domain crossing operations that delay

processing. See Factual Background. The patents thus amount to “significantly more” than an

abstract idea. See Cooperative, 50 F.4th at 131–32 ) (inventive concept where patent “explains

how [claimed] network structure is different from and improves upon the prior art”).

               2.      Defendant’s “Generic Components” Arguments Misread the Patents
                       and the Law

       Defendant’s assertion that the claims lack inventive concept because they utilize “generic

and conventional components” (Mot. at 11) is meritless. Indeed, an “[i]nventive concept can be

found in the non-conventional and non-generic arrangement of known, conventional pieces.”

Bascom, 827 F.3d at 1350; see also Cooperative, 50 F.4th at 135 (“useful improvements to

computer networks are patentable regardless of whether the network is comprised of standard

computing equipment”). Here, the patents plainly disclose that the particular arrangement of claim

elements was unconventional, which the Court must accept as true. See Factual Background;

Bergman Healthcare Pty. Ltd. v. Seneca Sense Techs. Inc., No. 1:22-CV-02167, 2023 WL

6388147, at *6-7 (N.D. Ill. Sept. 30, 2023) (statements in pleadings and intrinsic record identifying

“specific ways in which the [p]atent unconventionally improves upon prior art ‘to improve

efficiency’” preclude dismissal at the pleading stage).

       Defendant’s reliance on purported admissions that certain individual components such as

FPGAs and PLLs were commercially available highlights the error in its analysis. Mot. at 12-13.

The patents do not claim to invent FPGAs or any other individual component, nor the “invocation



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of market data.” Rather, the patents describe and claim new system architectures that, e.g.,

eliminate CDC operations—this alone constitutes an inventive concept (even if generic FPGA

components are used). In other words, the claimed inventive concepts lie in the unconventional

arrangements and configurations of hardware elements and their unique interactions.

       Thus, even assuming the claims were drawn to the abstract idea of “synchronizing data

processing with a clock” or “data manipulation” (they are not), the claims remain patent-eligible

because they present a concrete solution with “the specificity required to transform a claim from

one claiming only a result to one claiming a way of achieving it.” Interval Licensing, 896 F.3d at

1343 (internal citation omitted); see also Weisner v. Google LLC, 51 F.4th 1073, 1085-86 (Fed.

Cir. 2022) (district court erred in relying on patent statements conceding patentee did not invent

new search engine because the claims “do not per se concern searching for new information, but

rather concern a new technique for prioritizing the results of the conventional search”).

The highlighted elements in Exhibit 1 go well beyond mere data synchronization or manipulation

but detail “how” the claimed inventions reduce latency using an inventive, unconventional

arrangement of circuitry. Thus, the claims “add significantly more” to any purported “abstract idea

by implementing a specific solution to a problem rooted in computer technology.” Id. at 1088.

               3.      Rule 12(b)(6) and Questions of Fact Compel Denial

       Even if the Court were to give credence to Defendant’s unsupported attorney argument,

this at best creates fact issues precluding dismissal. See Buffalo, 2023 WL 4594945, at *8

(“[A]t the very least there are factual disputes regarding whether the patents contain an inventive

concept which would preclude granting Motorola’s motion [to dismiss].”) Thus, at minimum, the

Court should deny Defendant’s motion to dismiss because “determining whether the claimed

[invention] is well-understood, routine, or conventional is a question of fact that cannot be resolved

at the Rule 12(b)(6) stage.” Cooperative, 50 F.4th at 133. Courts in this District have properly


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denied dismissal under similar facts. See, e.g., Buffalo, 2023 WL 5858921, at *4 (“At a minimum

there is a factual dispute about whether the asserted patents involve components performing well-

understood, routine, conventional activities”); Disintermediation, 2024 WL 2209709, at *4.

(“Plaintiff has alleged facts to state a plausible claim that the patented technology includes an

inventive concept” where plaintiff alleged that the patents address a “technological problem and

involve an inventive concept”). Alternatively, Plaintiff should be granted leave to amend its

Complaint. Aatrix Software, Inc. v. Green Shades Software, Inc., 882 F.3d 1121, 1126 (Fed. Cir.

2018) (“[I]t was an abuse of discretion for the district court to deny leave to amend.”).

        C.     Defendant Fails to Show Any Claim Is Representative

        Defendant asserts that ’381 claim 1 and ’286 claim 1 “are representative of the patents as

a whole” because they “closely resemble each other and are based on the same abstract idea.”

But even a cursory glance at those claims alone shows they do not resemble each other. See Ex. 1.

And the purported “same abstract idea” is Defendant’s egregious oversimplification of the claims,

as discussed above. Further, it is Defendant’s burden to prove invalidity by clear and convincing

evidence and conclusory attorney argument that a claim is representative of all claims in all patents

is a far cry from meeting that burden.

        Likewise, for the dependent claims, Defendant continues its charade of mischaracterizing

claim elements as mere “data manipulation.” Mot. at 15. As shown in Exhibit 2, at least the

highlighted dependent claim elements relate to the patents’ patent-eligible technological

improvements that help reduce latency in conventional FPGA systems, e.g., by eliminating the

need for conventional CDC circuits and operations.

V.      CONCLUSION

        For the foregoing reasons, Defendant’s motion to dismiss should be denied.




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Dated: May 5, 2025                    Respectfully submitted,

                                      /s/ Marc Fenster
                                      Marc Fenster
                                      Brian Ledahl
                                      Dale Chang
                                      Paul Kroeger
                                      Joshua Sheufler
                                      RUSS AUGUST & KABAT
                                      12424 Wilshire Blvd. 12th Floor
                                      Los Angeles, CA 90025
                                      Telephone: 310-826-7474

                                      ATTORNEYS FOR PLAINTIFF HFT
                                      SOLUTIONS, LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 5, 2025, I electronically filed the foregoing document with the

Clerk of the Court for the Northern District of Illinois using the ECF System which will send

notification to the registered participants of the ECF System as listed on the Court’s Notice of

Electronic Filing.


                                                            /s/ Dale Chang
                                                            Dale Chang




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